                  Case 10-08181                     Doc 1           Filed 02/26/10 Entered 02/26/10 16:42:22                                                    Desc Main
B1 (Official Form 1) (1/08)                                           Document     Page 1 of 37
                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS                                                                                      Voluntary Petition
                                                EASTERN DIVISION (CHICAGO)
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Cuyugan, Ross Allen R.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
aka Ross Allen Relaysoiu Cuyugan



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
than one, state all):     xxx-xx-3274                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
4656 N. Monticello Avenue, Apt. 2
Chicago, IL
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            60625
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Cook
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
4656 N. Monticello Avenue, Apt. 2
Chicago, IL
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            60625
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     þ       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨ Chapter  15 Petition for Recognition
                                                                                                                                                           of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker                                                                                          of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker                           ¨       Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         ¨     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                                                                 Chapter 11 Debtors
                                                                                                     Check one box:
 þ      Full Filing Fee attached.
                                                                                                     ¨       Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).

 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach          ¨       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court's consideration certifying that the debtor is               Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                             insiders or affiliates) are less than $2,190,000.
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 þ           ¨            ¨              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.57.1, ID 2226203011)
                 Case 10-08181                    Doc 1           Filed 02/26/10 Entered 02/26/10 16:42:22                                         Desc Main
B1 (Official Form 1) (1/08)                                         Document     Page 2 of 37                                                                                    Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Ross Allen R. Cuyugan
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 Northern District of Illinois                                                              01-B-04981                                     2/15/2001
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ J. Kevin Benjamin, Esq.                                       02/08/2010
                                                                                                 J. Kevin Benjamin, Esq.                                               Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (1/08)                                         Document     Page 3 of 37                                                                                      Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Ross Allen R. Cuyugan
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Ross Allen R. Cuyugan
      Ross Allen R. Cuyugan
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     02/08/2010
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ J. Kevin Benjamin, Esq.                                                           defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      J. Kevin Benjamin, Esq.                          Bar No. 06202321                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Benjamin Legal Services, P.L.C.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 343 W. Erie Street                                                                          given the debtor notice of the maximum amount before preparing any document
 Suite 320                                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Chicago, Illinois 60654-5735                                                                section. Official Form 19 is attached.


          (312) 853-3100
 Phone No.______________________        (312) 577-1707
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     02/08/2010
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B 1D (Official Form 1, Exhibit D) (12/09)
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION (CHICAGO)
In re:   Ross Allen R. Cuyugan                                                           Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION (CHICAGO)
In re:   Ross Allen R. Cuyugan                                                        Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Ross Allen R. Cuyugan
                       Ross Allen R. Cuyugan

Date:       02/08/2010
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B6A (Official Form 6A) (12/07)



In re Ross Allen R. Cuyugan                                                  Case No.
                                                                                                                   (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                                Current Value




                                                                                      Husband, Wife, Joint,
                                                                                                                 of Debtor's
                   Description and                          Nature of Debtor's




                                                                                        or Community
                                                                                                                  Interest in
                     Location of                           Interest in Property
                                                                                                              Property, Without    Amount Of
                      Property                                                                                                    Secured Claim
                                                                                                               Deducting Any
                                                                                                               Secured Claim
                                                                                                                or Exemption


  None




                                                                                  Total:                                 $0.00
                                                                                  (Report also on Summary of Schedules)
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In re Ross Allen R. Cuyugan                                                                Case No.
                                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,

             Type of Property               None                 Description and Location of Property
                                                                                                                                     Without Deducting
                                                                                                                                       any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption

1. Cash on hand.                            X

2. Checking, savings or other finan-               Checking account with Chase Bank                                -                         $250.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                Used household goods, furnishings, electronics                  -                         $800.00
including audio, video and computer
equipment.

5. Books; pictures and other art                   Misc. books, Compact disk                                       -                         $300.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                                Necessary wearing apparel                                       -                         $300.00



7. Furs and jewelry.                        X

8. Firearms and sports, photo-              X
graphic, and other hobby equipment.

9. Interests in insurance policies.         X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name             X
each issuer.
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In re Ross Allen R. Cuyugan                                                            Case No.
                                                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                         Continuation Sheet No. 1




                                                                                                         Husband, Wife, Joint,
                                                                                                                                 Current Value of
                                                                                                                                 Debtor's Interest




                                                                                                           or Community
                                                                                                                                    in Property,

             Type of Property                None            Description and Location of Property
                                                                                                                                 Without Deducting
                                                                                                                                   any Secured
                                                                                                                                      Claim or
                                                                                                                                     Exemption


11. Interests in an education IRA as         X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,          X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-          X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint       X
ventures. Itemize.

15. Government and corporate bonds           X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                     X

17. Alimony, maintenance, support,           X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to           X
debtor including tax refunds. Give
particulars.
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B6B (Official Form 6B) (12/07) -- Cont.
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In re Ross Allen R. Cuyugan                                                            Case No.
                                                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                         Continuation Sheet No. 2




                                                                                                         Husband, Wife, Joint,
                                                                                                                                 Current Value of
                                                                                                                                 Debtor's Interest




                                                                                                           or Community
                                                                                                                                    in Property,

             Type of Property                None            Description and Location of Property
                                                                                                                                 Without Deducting
                                                                                                                                   any Secured
                                                                                                                                      Claim or
                                                                                                                                     Exemption


19. Equitable or future interests, life      X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent             X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-            X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other           X
intellectual property. Give
particulars.

23. Licenses, franchises, and other          X
general intangibles. Give particulars.

24. Customer lists or other compilations     X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,           X
and other vehicles and accessories.

26. Boats, motors, and accessories.          X
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In re Ross Allen R. Cuyugan                                                                   Case No.
                                                                                                                     (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                            $1,650.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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In re Ross Allen R. Cuyugan                                                                   Case No.
                                                                                                                 (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:            ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                 $136,875.

 ¨    11 U.S.C. § 522(b)(2)
 þ    11 U.S.C. § 522(b)(3)




                                                                                                                                   Current
                                                                                                                              Value of Property
                                                              Specify Law Providing Each             Value of Claimed
              Description of Property                                                                                         Without Deducting
                                                                       Exemption                        Exemption
                                                                                                                                  Exemption



 Checking account with Chase Bank                        735 ILCS 5/12-1001(b): Any personal                   $250.00                 $250.00
                                                         property of debtor

 Used household goods, furnishings,                      735 ILCS 5/12-1001(b): Any personal                   $800.00                 $800.00
 electronics                                             property of debtor

 Misc. books, Compact disk                               735 ILCS 5/12-1001(a), (e):                           $300.00                 $300.00
                                                         Necessary wearing apparel, bible,
                                                         school books, family pictures and
                                                         prescribed health aids of debtor &
                                                         dependents

 Necessary wearing apparel                               735 ILCS 5/12-1001(a), (e):                           $300.00                 $300.00
                                                         Necessary wearing apparel, bible,
                                                         school books, family pictures and
                                                         prescribed health aids of debtor &
                                                         dependents




                                                                                                             $1,650.00               $1,650.00
            Case 10-08181            Doc 1                  Filed 02/26/10 Entered 02/26/10 16:42:22                                   Desc Main
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B6D (Official Form 6D) (12/07)
          In re Ross Allen R. Cuyugan                                                                    Case No.
                                                                                                                                       (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         þ    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                        DATE CLAIM WAS                               AMOUNT OF          UNSECURED




                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                        INCURRED, NATURE                                 CLAIM            PORTION, IF




                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                        OF LIEN, AND                                 WITHOUT              ANY
         AN ACCOUNT NUMBER                                                         DESCRIPTION AND                               DEDUCTING
         (See Instructions Above.)                                                     VALUE OF                                   VALUE OF
                                                                                  PROPERTY SUBJECT                               COLLATERAL
                                                                                        TO LIEN




                                                                                         Subtotal (Total of this Page) >                   $0.00               $0.00
                                                                                        Total (Use only on last page) >                     $0.00               $0.00
________________continuation
       No                    sheets attached                                                                                     (Report also on    (If applicable,
                                                                                                                                 Summary of         report also on
                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                    Summary of
                                                                                                                                                    Certain Liabilities
                                                                                                                                                    and Related
                                                                                                                                                    Data.)
              Case 10-08181              Doc 1        Filed 02/26/10 Entered 02/26/10 16:42:22                                Desc Main
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B6E (Official Form 6E) (12/07)

In re Ross Allen R. Cuyugan                                                                       Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
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  In re Ross Allen R. Cuyugan                                                                                         Case No.
                                                                                                                                 (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                        DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                          INCURRED AND                                   CLAIM




                                                                                                                                        CONTINGENT
                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                               CLAIM.
             (See instructions above.)                                                              IF CLAIM IS SUBJECT TO
                                                                                                       SETOFF, SO STATE.


ACCT #: xxxxx24N1                                                                      DATE INCURRED:    11/17/2009
                                                                                       CONSIDERATION:
ALLIED COLLECTION SVCS                                                                 Collection                                                          $115.00
7120 HAYVENHURST AVE STE                                                               REMARKS:
                                                                   -
VAN NUYS, CA 91406



ACCT #: xxxx xxxx-xxxx3219                                                             DATE INCURRED:    05/23/2008
                                                                                       CONSIDERATION:
ARROW FINANCIAL SERVIC                                                                 Collection                                                        $1,196.00
5996 W TOUHY AVE                                                                       REMARKS:
                                                                   -
NILES, IL 60714



ACCT #: xxx9199                                                                        DATE INCURRED:    06/18/2008
                                                                                       CONSIDERATION:
ATLANTIC CRD                                                                           Collection                                                          $850.00
P O BOX 13386                                                                          REMARKS:
                                                                   -
ROANOKE, VA 24033



ACCT #: xxxxxxxx7348                                                                   DATE INCURRED:    10/12/2006
                                                                                       CONSIDERATION:
CAP ONE                                                                                Credit Extended to Debtor(s)                                      $1,188.00
PO BOX 85520                                                                           REMARKS:
                                                                   -
RICHMOND, VA 23285



ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Emergancy Physicians Statement                                                         Medical Bill(s)                                                     $281.00
PO Box 95968                                                                           REMARKS:
                                                                   -
Oklahoma City, OK 73143



ACCT #: xxxxxxxx -xxx3564                                                              DATE INCURRED:    07/22/2008
                                                                                       CONSIDERATION:
EQUABLE ASCENT FINANCI                                                                 Collection                                                          $892.00
5 REVERE DR                                                                            REMARKS:
                                                                   -
NORTHBROOK, IL 60062



                                                                                                                                   Subtotal >             $4,522.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
             Case 10-08181             Doc 1        Filed 02/26/10 Entered 02/26/10 16:42:22                                                Desc Main
                                                     Document     Page 15 of 37
B6F (Official Form 6F) (12/07) - Cont.
  In re Ross Allen R. Cuyugan                                                                                           Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                                  CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Friedman & Wexler, LLC                                                                    Collecting for - Thorek Hospital                                   $288.53
500 W. Madison Street                                                                     REMARKS:
                                                                      -
Suite 450
Chicago, IL 60661-2587

ACCT #: xxxxxxxxxxxx5893                                                                  DATE INCURRED:   05/28/2008
                                                                                          CONSIDERATION:
LVNV FUNDING LLC                                                                          Collection                                                        $1,150.00
PO BOX 740281                                                                             REMARKS:
                                                                      -
HOUSTON, TX 77274



ACCT #: xxxxxxxxxxxx3494                                                                  DATE INCURRED:   03/27/2009
                                                                                          CONSIDERATION:
LVNV FUNDING LLC                                                                          Collection                                                         $509.00
PO BOX 740281                                                                             REMARKS:
                                                                      -
HOUSTON, TX 77274



ACCT #: xxxx1491                                                                          DATE INCURRED:   11/02/2009
                                                                                          CONSIDERATION:
NCO FIN/27                                                                                Collection                                                         $614.00
PO BOX 7216                                                                               REMARKS:
                                                                      -
PHILADELPHIA, PA 19101



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Protocol Recovery Services                                                                Collecting for - GE Capital                                    Notice Only
509 Mercer Ave.                                                                           REMARKS:
                                                                      -
Panama City, FL 32401



ACCT #: xxxxxxxxxxxxxxxxxxx0901                                                           DATE INCURRED:   09/01/2005
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                     $34,028.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $36,589.53
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 10-08181             Doc 1        Filed 02/26/10 Entered 02/26/10 16:42:22                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.
  In re Ross Allen R. Cuyugan                                                                                           Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxxxxxxxx1010                                                           DATE INCURRED:   10/10/2006
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                     $27,117.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxxxxxxxxx0608                                                           DATE INCURRED:   06/08/2007
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                     $24,896.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxxxxxxxxx0512                                                           DATE INCURRED:   05/12/2006
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                     $17,474.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxxxxxxxxx0807                                                           DATE INCURRED:   08/07/2007
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                       $638.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxxxxxxxxx0810                                                           DATE INCURRED:   08/10/2007
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                      $6,838.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxxxxxxxxx1013                                                           DATE INCURRED:   10/13/2006
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                      $4,878.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $81,841.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 10-08181             Doc 1        Filed 02/26/10 Entered 02/26/10 16:42:22                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.
  In re Ross Allen R. Cuyugan                                                                                           Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                                  CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxxxxxxxx1006                                                           DATE INCURRED:   10/06/2005
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                      $4,870.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxxxxxxxxx1012                                                           DATE INCURRED:   10/12/2007
                                                                                          CONSIDERATION:
SALLIE MAE                                                                                Student Loan                                                      $3,728.00
11100 USA PKWY                                                                            REMARKS:
                                                                      -
FISHERS, IN 46037



ACCT #: xxxxxxxxxxxx2868                                                                  DATE INCURRED:   01/20/2008
                                                                                          CONSIDERATION:
SUNRISE CREDIT SERVICE                                                                    Collection                                                         $530.00
234 AIRPORT PLAZA BLVD S                                                                  REMARKS:
                                                                      -
FARMINGDALE, NY 11735



ACCT #: xxxxxxxxxxxx5440                                                                  DATE INCURRED:   12/23/2006
                                                                                          CONSIDERATION:
TARGET NB                                                                                 Credit Extended to Debtor(s)                                      $5,875.00
PO BOX 673                                                                                REMARKS:
                                                                      -
MINNEAPOLIS, MN 55440




Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $15,003.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                        $137,955.53
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)
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   In re Ross Allen R. Cuyugan                                                          Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


þ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
              Case 10-08181               Doc 1        Filed 02/26/10 Entered 02/26/10 16:42:22                               Desc Main
B6H (Official Form 6H) (12/07)
                                                        Document     Page 19 of 37
In re Ross Allen R. Cuyugan                                                                        Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
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B6I (Official Form 6I) (12/07)
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In re Ross Allen R. Cuyugan                                                                      Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Single




 Employment:                      Debtor                                                     Spouse
 Occupation                      CNA
 Name of Employer                Pacific Home Health Care
 How Long Employed               1 yr
 Address of Employer             4130 N. Kedzie Ave
                                 Chicago, IL 60618

INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $3,449.33
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                     $3,449.33
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $562.81
   b. Social Security Tax                                                                                         $213.85
   c. Medicare                                                                                                     $50.01
   d. Insurance                                                                                                     $0.00
   e. Union dues                                                                                                    $0.00
   f. Retirement                                                                                                    $0.00
   g. Other (Specify)                                                                                               $0.00
   h. Other (Specify)                                                                                               $0.00
   i. Other (Specify)                                                                                               $0.00
   j. Other (Specify)                                                                                               $0.00
   k. Other (Specify)                                                                                               $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $826.67
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $2,622.66
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00
8.  Income from real property                                                                                        $0.00
9.  Interest and dividends                                                                                           $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00
      b.                                                                                                             $0.00
      c.                                                                                                             $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $2,622.66
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $2,622.66
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
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B6J (Official Form 6J) (12/07)
  IN RE: Ross Allen R. Cuyugan                                                                  Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                       $750.00
    a. Are real estate taxes included?        ¨ Yes      þ No
    b. Is property insurance included?        ¨ Yes      þ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $250.00
               b. Water and sewer
               c. Telephone                                                                                                                  $150.00
               d. Other:
 3. Home maintenance (repairs and upkeep)
 4. Food                                                                                                                                     $350.00
 5. Clothing                                                                                                                                  $75.00
 6. Laundry and dry cleaning                                                                                                                  $75.00
 7. Medical and dental expenses
 8. Transportation (not including car payments)                                                                                              $200.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $50.00
 10. Charitable contributions                                                                                                                $125.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other: Student Loans                                                                                                         $643.00
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: Personal Care, Non-RX, Toiletries, Cleaning Supplies                                                                            $60.00
 17.b. Other: Haircuts                                                                                                                        $40.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $2,768.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $2,622.66
 b. Average monthly expenses from Line 18 above                                                                                           $2,768.00
 c. Monthly net income (a. minus b.)                                                                                                      ($145.34)
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B6 Summary (Official Form 6 - Summary) (12/07)
                                                    Document     Page 22 of 37
                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIVISION (CHICAGO)
   In re Ross Allen R. Cuyugan                                                       Case No.

                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                        $0.00


 B - Personal Property                           Yes      4                   $1,650.00


 C - Property Claimed                            Yes      1
     as Exempt
 D - Creditors Holding                           Yes      1                                                 $0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      4                                           $137,955.53
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $2,622.66
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                  $2,768.00
    Individual Debtor(s)

                                             TOTAL        16                   $1,650.00              $137,955.53
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Form 6 - Statistical Summary (12/07)
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION (CHICAGO)
    In re Ross Allen R. Cuyugan                                                       Case No.

                                                                                      Chapter       7



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                  $74,368.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $74,368.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $2,622.66

 Average Expenses (from Schedule J, Line 18)                                   $2,768.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $3,538.76

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $137,955.53

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $137,955.53
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Ross Allen R. Cuyugan                                                            Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 18
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 02/08/2010                                              Signature    /s/ Ross Allen R. Cuyugan
                                                                         Ross Allen R. Cuyugan

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (12/07)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION (CHICAGO)
   In re:   Ross Allen R. Cuyugan                                                                    Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $47,312.00                  2009 - Income from employment

        $18,490.00                  2008 - Income from employment

        $2,907.00                   2007 - Income from employment

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 þ     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 þ     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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   In re:   Ross Allen R. Cuyugan                                                                  Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Black Hills Children's Ranch, Inc.                            2/10/10                          $49.00

        Benjamin Legal Services, P.L.C.                               4/2009-1/2010                    1000.00
        343 W. Erie Street
        Suite 320
        Chicago, Illinois 60654-5735

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
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   In re:   Ross Allen R. Cuyugan                                                                   Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 2



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
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   In re:   Ross Allen R. Cuyugan                                                                     Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.
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                                                     EASTERN DIVISION (CHICAGO)
   In re:   Ross Allen R. Cuyugan                                                                     Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
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   In re:   Ross Allen R. Cuyugan                                                         Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 5



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 02/08/2010                                                Signature         /s/ Ross Allen R. Cuyugan
                                                               of Debtor         Ross Allen R. Cuyugan

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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                                                   NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION (CHICAGO)
  IN RE:    Ross Allen R. Cuyugan                                                        CASE NO

                                                                                         CHAPTER       7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                             Describe Property Securing Debt:
 None




 Property will be (check one):
    ¨ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               ¨   Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                              Describe Leased Property:                     Lease will be Assumed pursuant to
 None                                                                                                      11 U.S.C. § 365(p)(2):

                                                                                                           YES   ¨          NO   ¨
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                                            NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION (CHICAGO)
   IN RE:    Ross Allen R. Cuyugan                                                      CASE NO

                                                                                        CHAPTER         7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                         Continuation Sheet No. 1

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 02/08/2010                                                Signature    /s/ Ross Allen R. Cuyugan
                                                                           Ross Allen R. Cuyugan




Date                                                           Signature




                                                      CERTIFICATE OF SERVICE
       I, the below signed, do hereby certify that a true and correct copy of the foregoing Chapter 7 Individual Debtor's Statement of
Intention was mailed or otherwise served to the Chapter 7 Trustee, the secured creditors as listed on Schedule D, the United States
Trustee and/or to any other interested parties as may be required by B.R. 1007 and applicable local bankruptcy rules.




Date 02/08/2010                                                            /s/ J. Kevin Benjamin, Esq.
                                                                           J. Kevin Benjamin, Esq.
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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION (CHICAGO)
In re Ross Allen R. Cuyugan                                                               Case No.
                                                                                          Chapter             7



                              CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                  UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Ross Allen R. Cuyugan                                               X    /s/ Ross Allen R. Cuyugan                    02/08/2010
                                                                        Signature of Debtor                           Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)            Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,            J. Kevin Benjamin, Esq.               , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ J. Kevin Benjamin, Esq.
J. Kevin Benjamin, Esq., Attorney for Debtor(s)
Bar No.: 06202321
Benjamin Legal Services, P.L.C.
343 W. Erie Street
Suite 320
Chicago, Illinois 60654-5735
Phone: (312) 853-3100
Fax: (312) 577-1707
E-Mail: jkb@blsplc.com




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.


Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
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                                             NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION (CHICAGO)
IN RE:     Ross Allen R. Cuyugan                                                         CASE NO

                                                                                        CHAPTER       7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $1,000.00
     Prior to the filing of this statement I have received:                                        $1,000.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      02/08/2010                              /s/ J. Kevin Benjamin, Esq.
                         Date                                 J. Kevin Benjamin, Esq.                    Bar No. 06202321
                                                              Benjamin Legal Services, P.L.C.
                                                              343 W. Erie Street
                                                              Suite 320
                                                              Chicago, Illinois 60654-5735
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                                         EASTERN DIVISION (CHICAGO)
  IN RE:   Ross Allen R. Cuyugan                                                    CASE NO

                                                                                   CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 02/08/2010                                          Signature    /s/ Ross Allen R. Cuyugan
                                                                     Ross Allen R. Cuyugan



Date                                                     Signature




                                                                       /s/ J. Kevin Benjamin, Esq.
                                                                     J. Kevin Benjamin, Esq.
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